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 5
     ATTORNEY FOR DEFENDANT
 6   DEKANG ZHEN
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )                CR.-S-07-0025-EJG
11                                  )
          PLAINTIFF,                )                STIPULATION AND ORDER
12                                  )                TO CONTINUE STATUS CONFERENCE
          v.                        )                TO DECEMBER 14, 2007
13                                  )
     WEI JIE MA, et al.,            )
14                                  )
                                    )
15        DEFENDANTS.               )
     _______________________________)
16
17          Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Robert Twiss, and defendant WEI JIE MA, by his attorneys Mr. Stuart
19   D. Hanlon and Ms. Sara Rief, defendant KEVIN TRAN, by his attorney Mr. Hayes H.
20   Gable, defendant MEI KENG LAM, by attorney Mr. Dwight M. Samuel, defendant
21   JASON TUAN HOANG, by his attorney Mr. Michael L. Chastaine, defendant JUN
22   XIONG WANG, by his attorney Mr. Charles F. Bourdon, defendant SIEW YOKE NG,
23   by attorney Mr. Michael B. Bigelow, and defendant DEKANG ZHEN, by his attorney
24   James R. Greiner, hereby stipulate and agree that the status conference calendared for
25   Friday, October 12, 2007, at 10:00 a.m. before the Honorable Senior District Court
26   Judge, Edward J. Garcia, may be continued to Friday, December 14, 2007, at 10:00
27   a.m.
28                                               1
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 1         The background of the case to date is as follows:
 2         The criminal complaint against all defendants was filed on January 16, 2007. On
 3   that date defendant RUI YEE made a first appearance. (See Docket Entry #1)
 4         On January 16, 2007 defendant RUI YEE made an initial appearance on the
 5   criminal complaint. (See Docket Entry # 3)
 6         An Indictment was returned against all defendants on January 25, 2007. (See
 7   Docket Entry #8)
 8         On January 30, 2007, defendants RUI YEE and KEVIN TRAN were arraigned
 9   on the Indictment. Time was excluded under the Speedy Trial Act under Local Code T-
10   2 (complexity of case) and Title 18 U.S.C. section 3161(h)(8)(B)(ii)and Local Code T-
11   4 and Title 18 U.S.C. section 3161(h)(8)(B)(iv). (See Docket Entry #23)
12         On February 5, 2007, defendant JASON TUAN HOANG was arraigned on the
13   Indictment. (See Docket Entry #27)
14         On February 9, 2007, defendant JUN XIONG WANG was arraigned on the
15   Indictment. Time was excluded under the Speedy Trial Act under Local Code T-4 and
16   Title 18 U.S.C. section 3161(h)(8)(B)(iv). (See Docket Entry # 31)
17         On February 23, 2007, a related case order was signed and filed reassigning the
18   case to the Honorable Senior Judge Edward J. Garcia. (See Docket Entry # 35)
19         On February 23, 2007, defendants DEKANG ZHEN, SIEW YOKE NG and
20   WEI JIE MA, were arraigned on the Indictment. Time was excluded under the Speedy
21   Trial Act under Local Code T-4 and Title 18 U.S.C. section 3161(h)(8)(B)(iv). (See
22   Docket Entry # 38)
23         On March 2, 2007, a status conference was held before the Honorable Senior
24   District Court Judge, Edward J. Garcia, and the case is continued to June 8, 2007.
25   Time was excluded under the Speedy Trial Act under Local Code T-2 (complexity of
26   case) and Title 18 U.S.C. section 3161(h)(8)(B)(ii)and Local Code T-4 and Title 18
27   U.S.C. section 3161(h)(8)(B)(iv). (See Docket Entry #50)
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 1         On June 8, 2007, the Court signed a Stipulation and Order continuing the status
 2   conference to September 7, 2007. Time was excluded under the Speedy Trial Act
 3   under Local Code T-4 and Title 18 U.S.C. section 3161(h)(8)(B)(iv). (See Docket
 4   Entry #68)
 5         On July 26, 2007, defendant MEI KENG LAM, was arraigned, entered a not
 6   guilty plea and demanded a jury trial. (See Docket Entry #75). This is the last
 7   defendant in the case and the last defendant to be arraigned. All of the other co-
 8   defendants had made their initial appearance on or before February 23, 2007. (See
 9   Docket Entries #23 for Yee and Tran; # 27 for Hoang; #31 for Wang; and #38 for
10   Zhen, Ng and Ma).
11         On September 4, 2007, the Court signed a Stipulation and Order continuing the
12   status conference to October 12, 2007. Time was excluded under the Speedy Trial Act
13   under Local Code T-2 (complexity of case) and Title 18 U.S.C. section
14   3161(h)(8)(B)(ii) and Local Code T-4 and Title 18 U.S.C. section 3161(h)(8)(B)(iv)
15   (time for defense counsel preparation). (See Docket Entry #79)
16         There has been a separate Stipulation and Order filed to continue one of the
17   defendants in this case to November 30, 2007. (See Docket entries # 80, 81) This is by
18   defendant Rui Yee, filed by attorney Dina Santos. Defendant Rui Yee is on a different
19   time table and different schedule than the rest of the defendants in this case. Thus, the
20   reason that defendant Rui Yee will no longer be filing or appearing with the group of
21   defendants in this case. The government knows of this and agrees to this procedure.
22         The government has produced additional discovery since the June 8, 2007, Order
23   continuing this case to September 7, 2007. The additional discovery is both complex
24   in nature and voluminous in size. There are now over 3,500 pages of documents to be
25   reviewed by counsel with their respective clients. In addition there are over
26   approximately 17 hours of video tape, over 250 photographs on CD dics, that also need
27   to be reviewed and listened to by both counsel and their respective clients. In addition,
28                                                3
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 1   each defense counsel needs this additional time to investigate independently the
 2   charges against their respective clients. Finally, there are several other similar cases
 3   with multiple defendants that are in the Eastern District that may have an impact on this
 4   case that need to be followed by each defense counsel for their respective defendants.
 5         In addition, co-defendant LAM has only been in the case since July 26, 2007,
 6   (See Docket Entry # 75) some five (5) months after the other seven (7) co-defendants
 7   had made their initial appearance. (See Docket Entries # 23, 27, 31 and 38) Thus,
 8   counsel for LAM is some five (5) months behind in the review and investigation of the
 9   voluminous material produced by the government.
10         In addition, the government and the defense are in the process of working out a
11   mutually agreeable time for the defense to inspect the items that were seized pursuant
12   to the search warrants and the arrests. This is a large amount of material being stored in
13   three (3) different locations (Sacramento, the Stockton area and in the San Burno area).
14   The parties are working in good faith to schedule such inspections in the three (3)
15   different locations and this reasonable continuance will allow this procedure to go
16   forward. This has proved to be a more challenging task than first believed due to the
17   number of storage facilities, the amount of material to inspect, the number of federal
18   agents required to be involved in the various inspections and the coordination of seven
19   (7) defense attorneys with the government agents calendars. This is a high priority to
20   the defense and we are now in the process of coordinating dates and times for the
21   various locations to be inspected. This additional time will allow this process to go
22   forward.
23         In addition, the interests of both the government and the defendants in having
24   these items inspected is reasonably necessary in the moving of the case forward to
25   allow the defense to carry on meaningful discussion with each defendant what physical
26   evidence the government has in this case. The government and the defense all agree
27   that the interests are justice are best served in this particular case by this continuance to
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 1   allow this inspection of government evidence to go forward.
 2           Finally, the reasonable continuance will allow the government and the defense to
 3   continue discussions in a good faith manner in a good faith attempt to resolve this case
 4   short of trial. These on going discussions are complicated due to the complexity of the
 5   case, the complexity of the advisory United States Sentencing Guidelines and the
 6   individual defendants criminal history. This reasonable continuance will allow these
 7   discussions to continue in a good faith effort at resolving this matter short of trial while
 8   allowing the parties to research the complex advisory United States Sentencing
 9   Guidelines.
10           The parties stipulate and agree that time under the Speedy Trial Act shall
11   continue be excluded up to and including Friday, December 14, 2007, under the
12   Speedy Trial Act under Local Code T-2 (complexity of case) and Title 18 U.S.C.
13   section 3161(h)(8)(B)(ii)and Local Code T-4 (time for defense counsel preparation)
14   and Title 18 U.S.C. section 3161(h)(8)(B)(iv).
15           The Court’s courtroom deputy was called to clear the date requested and the
16   date is available on the Court’s calendar.
17   ///
18                                     Respectfully submitted,
19                                     McGREGOR W. SCOTT
                                       UNITED STATES ATTORNEY
20
                                       /s/ ROBERT TWISS by telephone authorization
21
     DATED: 10-11-07                   _____________________________________
22                                     ROBERT TWISS
                                       ASSISTANT UNITED STATES ATTORNEY
23                                     ATTORNEYS FOR THE PLAINTIFF
24   DATED: 10-11-07
                                       /S/ STUART D. HANLON by e mail authorization
25                                     _____________________________________
                                       STUART D. HANLON
26                                     SARA RIEF
                                       ATTORNEY FOR DEFENDANT MA
27
28                                                5
       Case 2:07-cr-00025-WBS Document 84 Filed 10/12/07 Page 6 of 6


 1
     DATED: 10-11-07             /s/ HAYES H. GABLE by e mail authorization
 2                               ______________________________________
                                 HAYES H. GABLE
 3                               ATTORNEY FOR DEFENDANT TRAN
 4
 5   DATED 10-11-07             /s/ DWIGHT M. SAMUEL by telephone authorization
                                 ________________________________________
 6                               DWIGHT M. SAMUEL
                                 ATTORNEY FOR DEFENDANT LAM
 7
 8
     DATED: 10-11-07             /s/ MICHAEL L. CHASTAINE by e mail
 9                               authorization
                                 ________________________________________
10                               MICHAEL L. CHASTAINE
                                 ATTORNEY FOR DEFENDANT HOANG
11
12   DATED: 10-11-07             /s/ CHARLES F. BOURDON by telephone
                                 authorization
13                               _________________________________________
                                 CHARLES F. BOURDON
14                               ATTORNEY FOR DEFENDANT WANG
15
     DATED: 10-11-07             /s/ MICHALE B. BIGELOW by e mail authorization
16                               _________________________________________
                                 MICHAEL B. BIGELOW
17                               ATTORNEY FOR DEFENDANT NG
18
                                 /s/ JAMES R. GREINER
19   DATED: 10-11-07             _____________________________________
                                 JAMES R. GREINER
20                               ATTORNEY FOR DEFENDANT ZHEN
21
                                       ORDER
22
23        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
24
     DATED: October 11, 2007.
25
                                              /s/ Edward J. Garcia
26                                            Honorable Edward J. Garcia
                                              United States District Court
27
28                                        6
